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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division



  FRANK WAYNE GOOD,


              Petitioner,

  V.                                                         Civil No. 2:17cv313
                                                           Criminal No. 2:16cr22


  UNITED STATES OF AMERICA,


              Respondent.




                                OPINION AND ORDER


       This matter is before the Court on a Motion to Vacate, Set

  Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255, filed

  by   Petitioner      Frank    Wayne       Good    {''Petitioner"        or   "Good").

  Petitioner's    §    2255    motion   contains        numerous    claims     alleging

  ineffective    assistance     of   counsel.        For   the    reasons      discussed


  below. Petitioner's habeas petition is DENIED with the exception

  of Petitioner's claim that counsel was ineffective for failing

  to file a notice of appeal as directed, which is TAKEN UNDER

  ADVISEMENT pending an evidentiary hearing.

                      I. FACTUAL AND PROCEDURAL HISTORY


       On   February     5,    2016,    Petitioner         was    charged      with   the

  following    eight    counts    of    a    twenty-seven         count    indictment:

  Conspiracy to Distribute and Possess with Intent to Distribute

  Methamphetamine      in     violation      of    21    U.S.C.    846     (Count     1);
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 Distribution      of    Methamphetamine         in   violation        of   21   U.S.C.     §

 841(a)(1)      and    (b)(1)(C)    (Counts      2    and   3);    Maintaining          Drug-

  Involved Premises in violation of 21 U.S.C. § 856(a)(1) (Counts

 4 and 5);      and Using the United States Mail to Cause, Commit and

  Facilitate a Felony Violation of the Controlled Substances Act

  in violation of 21 U.S.C. § 843(b) (Counts 6 through 8). See

  Ind., ECF No. 1.

         On March 14, 2016, Petitioner was appointed counsel.                             See

  Initial Appearance Minutes, ECF No. 8.                    On May 25, 2016, the

  Government filed an Information to Establish Prior Conviction in


  accordance with 21 U.S.C. § 851, which noted one of several of

  Petitioner's prior felony drug offenses.                   ECF No. 68.           On June

  3,    2016,   Petitioner     pled    guilty     pursuant        to   a    written      plea

  agreement to Count One of the indictment.                        ECF No. 77.            The

  Court accepted Petitioner's guilty plea and continued the matter

  for sentencing.        Id.

         In the presentence investigation report C'PSR") prepared on

  August 17, 2016, the probation officer calculated Petitioner's

  Advisory Guidelines range to be 360 months to life based upon an

  offense level of 41 and a criminal history category of IV.                              See

  PSR    HH   22-33,     100-101,   ECF    No.    102.       On    August        30,    2016,

  Petitioner raised the following objections to the PSR: (1) that

  the   drug    weight    attributed      to   him    that resulted         in    his    Base

  Offense Level of 36 was inaccurate; and (2) that he should not
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 be    assessed     the     two-level        enhancement      for    possession    of    a

 dangerous weapon.          See PSR 31-32, ECF No. 114.                On September 14,

 2016,      Petitioner      filed        a   position      paper     withdrawing      his

 objections and concurring with the recommended guideline range.

 See Def.'s Pos. Paper 1, ECF No. 120.                        In his position paper,

 Petitioner argued for a below-Guidelines sentence ^^close to the

 240     month    minimum    sentence."          Id.     On     that    same   day,   the

  Government      filed     its    position      on    sentencing       recommending     a

 sentence within the undisputed Guidelines range of 360 months to

  life imprisonment.         ECF No. 121.

          At Petitioner's sentencing hearing on September 21, 2016,

  both   parties     agreed       that   the   Guidelines       range    and   statutory

  imprisonment range were properly calculated.                      Sen. Hr'g Tr. 7:5-

  10, ECF No. 170.         The Court ultimately sentenced Petitioner to a

  below-Guidelines sentence of 300 months imprisonment, followed

  by a ten-year term of supervised release.                    See Judgment 2-3, ECF

  No. 136.


         On June 8, 2017, Petitioner timely filed the instant § 2255

  motion.        ECF No.    146.     Therein, Petitioner requests that his

  conviction      and sentence      be vacated because          Petitioner's counsel


  provided ineffective assistance for failing to (1) conduct an

  adequate and independent pretrial investigation; (2) negotiate a

  more favorable plea agreement; (3) adequately inform him of the

  likely    outcome    of    pleading        guilty;    (4)    review,    discuss,      and
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 explain the PSR to Petitioner prior to his sentencing; (5) file

 substantive objections to the PSR; and (6) file an appeal.                          See

 Mem. Law Supp. § 2255 Mot. 15-27, ECF No. 147.

         On October 27, 2017, the Government replied in opposition.

 ECF No. 159.         On November 27, 2017, Petitioner filed his reply-

 brief.     ECF No. 165.           Having been fully briefed. Petitioner's

 pending motion is ripe for review.

                              II. STANDARD OF REVIEW


         A federal prisoner, in custody, may collaterally attack his

 sentence or conviction by moving the district court ^'to vacate,

 set aside or correct the            sentence."      28    U.S.C. § 2255(a).          To

 obtain such relief, a petitioner must prove by a preponderance

 of the evidence that his sentence or conviction was "imposed in

  violation     of   the   Constitution     or    laws   of   the   United       States,"

  that the district court "was without jurisdiction to impose such

 sentence," that the sentence exceeds "the maximum authorized by

  law," or that the sentence or conviction is "otherwise subject

 to collateral attack."              Id.; see Miller v. United States, 261

  F.2d   546,   547   (4th    Cir.   1958).      Because      a §   2255    motion "is

  ordinarily presented to the judge who presided at the original

  conviction and sentencing . . . the judge's recollection of the

  events   at    issue"      may   inform   the    resolution       of     the    motion.

 Blackledge v. Allison, 431 U.S. 63, 74 n.4 (1977).
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        A § 2255 motion is, in essence, a statutory federal habeas

 corpus action that enables a petitioner to collaterally attack

 his     sentence      or       conviction      through    the     filing     of   a    new

 proceeding, as contrasted with a direct appeal.                         United States

 V. Hadden, 475 F.3d 652, 663 {4th Cir. 2007).                        The existence of

 the right to pursue a collateral attack does not displace a

 direct appeal as the ''usual and customary method of correcting

  trial errors."          United States v. Allgood, 48 F. Supp. 2d 554,

 558 (E.D. Va. 1999).

        Although a petitioner advancing new claims asserted for the

 first      time    in      a    §    2255     motion   must     generally     "clear     a

  significantly higher hurdle than would exist on direct appeal,"

  United States v. Frady, 456 U.S. 152, 166 (1981), a freestanding

  claim of ineffective assistance of counsel is properly asserted

  for   the    first     time    in   a § 2255     motion,     see   United    States    v.

  King, 119 F.3d 290, 295 (4th Cir. 1997) ("[I]t is well settled

  that 'a claim of ineffective assistance should be raised in a 28


  U.S.C. § 2255 motion in the district court rather than on direct

  appeal,      unless       the       record    conclusively       shows     ineffective

  assistance.'" (quoting United States v. Williams, 977 F.2d 866,

  871   (4th    Cir.     1992))).       Such    rule    exists   because    the    Federal

  Rules   Governing         §    2255   proceedings       permit     expansion     of   the

  record, which is generally unavailable on direct appeal.                          United
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 States    V.    Baptiste,       596       F.3d    214,      216        n.l    (4th    Cir.    2010)

 (citing Massaro v. United States, 538 U.S. 500, 504-06 (2003)).

         The    Sixth    Amendment         to     the   Constitution             of    the    United

 States provides that ''the accused shall enjoy the right . . . to

 have    the    Assistance      of    Counsel for         his      defence."           U.S.   Const,

 amend. VI. The United States Supreme Court has interpreted the

 right to counsel as providing a defendant "'the right to the

 effective      assistance       of    counsel.'"            Strickland          v.    Washington,

 466 U.S. 668, 686 (1984) (emphasis added)                                (quoting McMann v.

  Richardson, 397 U.S. 759, 771 n.l4 (1970)).                                  To obtain relief

  based on an allegation of ineffective assistance, a petitioner

  must   establish       both:       (1)    that    counsel's             perfomnance         was   so

  deficient      that     it     fell       below       an         objective          standard      of

  reasonableness;        and    (2)    that       counsel's         inadequate         performance

  caused the petitioner prejudice.                      Id. at 687-88.                 "Vague and

  conclusory      allegations         contained         in     a    §     2255    petition"         are

  insufficient to carry a petitioner's burden under Strickland,

  and    such    allegations         may    therefore          "be      disposed       of     without

  further investigation by the District Court."                                United States v.

  Dyess, 730      F.3d 354, 359 (4th               Cir. 2013) (internal quotation

  marks and citation omitted).

         Satisfying       the    first          prong     of       Strickland          requires      a

  petitioner     to     establish      that       "counsel         made       errors   so     serious

  that counsel was not functioning as the 'counsel' guaranteed the
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 defendant by the Sixth Amendment."                     Strickland, 466 U.S. at 687.

 Reviewing      courts          strongly        presume       that       counsel        exercised

 reasonable professional judgment, and only in "relatively rare

 situations" will a § 2255 motion establish that, "^in light of

 all    the   circumstances,        the     identified           acts    or     omissions      were

 outside the wide range of professionally competent assistance.'"

 Tice    V.   Johnson,      647    F.3d     87,       102    (4th      Cir.     2011)      (quoting

 Strickland,        466    U.S.    at     690).        As    it     is     all    too      easy   to

 challenge     an    act,       omission,       or    strategy,         once     it has     proven

 unsuccessful,       "every       effort     [must]         be    made     to    eliminate        the

 distorting         effects        of      hindsight,             to       reconstruct            the

 circumstances of counsel's challenged conduct, and to evaluate

 the     conduct         from     counsel's           perspective          at        the     time."

 Strickland,        466    U.S.     at     689.         A    petitioner's            showing       of

 deficient performance must therefore go beyond establishing that

 counsel's     performance          was     below      average,          because      "effective

 representation is not synonymous with errorless representation."

 Springer     v.    Collins,      586     F.2d       329,   332     (4th      Cir.    1978);      see

 Strickland, 466 U.S. at 687.                    According to the Fourth Circuit,

 the "basic lesson" of Strickland is not just deference but high

 deference,        and    attorneys       are    permitted         to    "be     selective        and

 strategic without risking an ineffective assistance of counsel

 claim."      United      States v.        Mason,      774       F.3d 824, 830 (4th            Cir.

 2014).
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        The second prong of Strickland requires a petitioner to

 ^^affiinnatively prove prejudice," which requires a showing that

 "there    is    a    reasonable        probability       that,   but   for     counsel's

 unprofessional errors, the result of the proceeding would have

 been different."        Strickland, 466 U.S. at 693-94.                   "A reasonable

 probability is a probability sufficient to undermine confidence

 in the outcome."         Id. at 694.              If a petitioner fails to prove

 either of the two prongs of the Strickland test, the court need

 not evaluate the other prong.

                                       III. DISCUSSION


        Petitioner's         §    2255       motion      advances     six     claims   of

 ineffective assistance of counsel, including that Petitioner's

 counsel:     (1)     failed      to    conduct     an   adequate     and    independent

 pretrial investigation; (2) failed to negotiate a more favorable

 plea     agreement;     (3)     failed      to    adequately     inform    him   of   the

 likely     outcome     of       pleading     guilty;      (4)    failed     to   review,

 discuss,       and   explain      the      PSR     to   Petitioner     prior     to   his

 sentencing;      (5)   failed         to   file   substantive      objections    to   the

 PSR; and (6) failed to file an appeal.                       See Mem. Law Supp. §

 2255 Mot. 15-27, ECF No. 147.                 The Court will address each claim

 in turn.


     A.     Failure to Conduct an Adequate Pretrial Investigation

        Petitioner first argues that counsel provided ineffective

 assistance by "fail[ing]               to conduct any kind of a reasonable
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 independent pretrial investigation."                    Id. at 16.           He asserts

 that counsel "failed to research case law, interview witnesses

 or    investigate       the    facts   of    his   case,"      and   also      failed   to

 conduct independent investigation or otherwise move the Court to

 hire    a private        investigator       to independently investigate                his

 case.       Id.     Beyond the above          conclusory statements, however,

 Petitioner does not explain what evidence or caselaw he believes

 that his counsel failed to uncover.


        The       Government     responds      by      noting     that       Petitioner's

 allegations are in conflict with his earlier sworn statements at

 his change of plea hearing. See Gov.'s Opp'n Br. 10-11, ECF No.

 159.        At    the   hearing.     Petitioner       affirmed    that      he   had    the

 opportunity to discuss his case with his attorney, that he had

 discussed all the facts of the case with his attorney, and that

 he was satisfied that his attorney had fully considered all the

 facts of his case and discussed with him any possible defenses

 to    the    charge.      See   Plea   Hr'g     Tr.   at   14:9-18,      ECF     No.   158.

 Additionally, the Government points out Petitioner acknowledged

 in the plea agreement that he was "satisfied that [his] attorney

 has rendered effective assistance."                    Plea Agr. 2, ECF No. 78.

 The    Government       also   has   attached   an    affidavit      from   Defendant's


 then-counsel, Ms. Melinda Glaubke, wherein she states:

        In order to prepare to advise [Petitioner] on whether
        or not it was in his best interests to plead guilty or
        go to trial, I spent over 9.6 hours reviewing the
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        evidence/discovery             and   researching     various      issues
        connected        with   the     case.    In   addition,   I   met   with
        [Petitioner] at the Western Tidewater Regional Jail .
          . at least 11 times prior to his guilty plea to
        discuss the facts of the case and any defense he may
        have.  In addition, 1 met with [Petitioner's] wife in
        my office on several occasions regarding the charges
        prior to the plea.

  Id. at 1, ECF No. 159-2.               The Government argues that, in light

  of the overwhelming evidence against Petitioner and his lack of

  any viable     defense,        Ms.    Glaubke's pretrial investigation             was

  more than thorough.           See Gov.'s Opp'n Br. 11.

            1. Counsel's Performance in Conducting the Pretrial
             Investigation Was Not Constitutionally Deficient

        Claims      of    failure      to    investigate   are    analyzed     not    by

  examining what is "prudent or appropriate" but "only what is

  constitutionally compelled."               Burger v. Kemp, 483 U.S. 776, 794

  (1987) (quoting United States v. Cronic, 466 U.S. 648, 665 n. 38

  (1984)).     Counsel has a duty to make "reasonable investigations

  or   to    make    a     reasonable        decision     that    makes     particular

  investigations         unnecessary."       Strickland,   466    U.S.    at 691.     In

  determining a trial strategy, defense counsel "may rely on the

  truthfulness of his client . . . in deciding how to pursue his

  investigation."          Barnes v. Thompson, 58 F.3d 971, 979-80 (4*^^

  Cir. 1995); Strickland, 466 U.S. at 691 ("The reasonableness of

  counsel's actions may be determined or substantially influenced

  by the defendant's own statements and actions.").                       Thus, "when

  the facts . . . are generally known to counsel because of what


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  the defendant has said, the need for further investigation may

  be . . . eliminated altogether."                  Strickland, 466 U.S. at 691.

  Counsel's    decisions,     when     reasonable,          are   to    be    afforded     a

  '^heavy measure of deference." Id.

         In order to prevail. Petitioner must satisfy the Court that

  additional   evidence      would    have    been   obtained     such       that further


  investigation      would     have       been    fruitful.       See        Bassette     v.

  Thompson, 915 F.2d 932, 940-41 (4th Cir. 1990).                       He states that

  counsel's failure to ''research and properly prepare this case"

  prevented him from making an "informed decision of whether to

  plead guilty or to proceed to trial."                See Mem. Law Supp. § 2255

  Mot. 17, ECF No. 147.         However, Good does not allege that there

  are particular facts or other information which, once discovered

  by counsel, would have influenced him to proceed to trial.                              He

  thus   has   failed   to    make    a    showing     of    deficient        performance

  beyond "vague, conclusory statements."                    See Dyess, 730 F.3d at

  359.


         Moreover,   Petitioner       has     not    contradicted       Ms.        Glaubke's

  statement showing that she invested considerable time and effort

  into his case, meeting with him at least eleven times prior to

  his guilty plea to discuss the facts of the case.                          See    Glaubke

  Aff. 1, ECF No. 159-2.         Further, at his change of plea hearing

  Petitioner testified under oath that he                   was satisfied with his

  counsel, stating:


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         THE COURT: Have you had the opportunity to discuss
         your case with your attorney, Ms. Glaubke?

         MR. GOOD: Yes, sir.

         THE COURT: Have you actually discussed all the facts
         in this case with her?

         MR. GOOD: Yes, sir.

         THE COURT: Are you satisfied that Ms. Glaubke has
         fully considered all the facts and discussed with you
         any possible defenses that you may have to the charges
         against you?

         MR. GOOD: Yes, sir.

  Change    Plea      Hr'g    Tr.   14:9-18,       ECF    No.    158.         Thus,   because

  Petitioner's        evidence      consists    of       only    conclusory         statements

  which     contradict        his   sworn     statements         at     the     guilty    plea

  hearing,      he     has    not   proven     that      counsel's       performance         was

  constitutionally deficient.

           2. Counsel's Performance in Conducting the Pretrial
            Investigation Has Not Caused Petitioner Prejudice

         Even    if    Petitioner     had    shown    that      his    counsel      failed    to


  conduct an adequate            pretrial investigation,               he     has   not shown

  that     counsel's      performance       caused       him     prejudice.           When    an

  ineffective         assistance      of   counsel       claim    is    brought       after   a

  guilty plea, the standard is altered.                    See Fields v. Att'y Gen'1

  of   Md.,     956    F.2d   1290,    1297    (4th      Cir.    1992).        For    a   claim

  brought after a guilty plea, ''[t]he                     defendant must show that

  there    is    a     reasonable      probability        that,       but     for    counsel's

  errors, he would not have pleaded guilty and would have insisted



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  on going to trial."             Id.     Even if counsel could have uncovered

  more    facts     with     an    independent        investigation.          Good    has    not

  established that additional facts would have changed the outcome

  of    his   case.        The     Government's         case    was    bolstered       by    the

  testimony of numerous witnesses and co-conspirators, as well as

  by the fact that federal agents intercepted packages sent at

  Petitioner's direction containing drugs.                      See PSR t 9 (detailing

  how    federal    investigators         had     intercepted         packages     containing

  drugs that were sent at Petitioner's direction); id. at UK 11-16

  (explaining that five unindicted co-conspirators had inculpated

  Petitioner for his role in the offenses); see also Glaubke Aff.

  1-2 (noting that Petitioner's counsel warned him that the last

  CO-defendant        in   case     had    been      arrested     and       was    seeking    to

  cooperate with the Government).

         In light of the overwhelming evidence against Petitioner,

  counsel's     performance,         even    if      deficient,       did    not     cause   any

  prejudice        because       Petitioner       has     not    shown       "a    reasonable

  probability that, but for counsel's unprofessional errors, the

  result      of     the      proceeding          would     have       been        different."

  Strickland,       466    U.S.    at     693-94.     Thus,     Petitioner's         claim    of

  ineffective assistance of counsel on the                      basis that his counsel


  failed to conduct an adequate pretrial investigation is DENIED

  because     he    has    shown    neither       that    counsel's         perfoonnance     was




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  deficient nor that any deficient performance caused Petitioner

  prejudice.

  B. Ineffective Assistance of Counsel at the Plea Agreement Stage

        1. Failure to Adequately Advise Petitioner Regarding his
                                   Guilty Plea

         Petitioner    next      argues       that      his     counsel    failed      to

  adequately advise him as to the consequences of accepting the

  plea agreement.      See Mem. Law Supp. § 2255 Mot. 20, EOF No. 147.

  He claims that there is a reasonable probability he would have

  proceeded to trial or opted to plead to the indictment without a

  plea    agreement   to   preserve      his    right    to     appeal    had   he   been

  properly informed by counsel of the possibility of a 300-month

  sentence.     Id. at 21.        The precise nature of counsel's alleged

  misadvice,    however,    is    unclear.        Petitioner      never    states     that

  his counsel failed        to inform      him of       the statutory maximum          or

  otherwise     misinformed       him    about     any    other     specific     issue.

  Petitioner    merely     repeats      various    conclusory      statements        about

  his    counsel's    advice,     including       the    following:       (1)   counsel

  "expressly failed to correctly familiarize [Petitioner] with the

  relevant facts of the case, case law, applicable Guidelines and

  potential consequences of a conviction in his case," id. at 21;

  (2) counsel "failed to properly inform Good of all these matters

            [h]ad    Glaubke     done   so.     Good    would   have     been   properly

  advised of his actual correct options available," id.; (3) "it




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  is    clear      and    obvious          that    Good     did     not    have     a    complete

  understanding           of        the     relevant        circumstances          and        likely

  consequences           of    pleading          guilty     to     the    government's         Plea

  Agreement,"       id.       at    21; and       (4) ''Good       had    a true       and    honest

  belief from this misadvice given to him by his attorney, that if

  he pled guilty to the government's Plea Agreement that it was

  the best opportunity for him in his case," id. at 21.                                 The above

  statements constitute the entirety of the facts he alleges on

  this issue.           Based on the above. Petitioner claims there is a

  reasonable       probability            the    Court    would    have    imposed       the    same

  sentence if Good had pled guilty to the indictment, thus his

  counsel allowed him to relinquish his appellate rights without

  cause.     Id. at 20-22.


        In    view       of    the        lack    of     clarity    about       what    precisely

  Petitioner       is     asserting         he    was    misinfomned       about,       the    Court

  cannot agree that his counsel's performance was constitutionally

  deficient or that any prejudice                         arose    from    counsel's         alleged

  misadvice.        If the Court construes Petitioner to be arguing that

  his   counsel      misinformed            him    about    the     possible      penalties       he

  would face by pleading guilty, any misinformation was mitigated

  first by the plea agreement, which clearly states that Defendant

  faced a mandatory minimum term of imprisonment of twenty years

  and a maximum term of life imprisonment.                           Plea Agr. 1, ECF No.

  78.        The    Court          also    informed       Petitioner       of     the    relevant



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  mandatory minimum and statutory maximum terms at his change of

  plea    hearing,     and    Petitioner             affirmed    under        oath   that   he

  understood the penalties provided by law for the count to which

  he pled guilty.       Plea Hr'g Tr. 6:14-7:3, ECF No. 158.                         Further,

  Defendant affirmed that he understood the nature of the rights

  that he    was giving up          by pleading guilty, see id. at 11:24-

  13:11, that the Court might impose a sentence above or below the

  calculated Guideline range, see id. at 15:5-9, and that it was

  unlikely that his attorney could predict his ultimate Guideline

  range     before    the     PSR    was      prepared,         see     id.     at   16:9-19.

  Petitioner    was    thus    fully       informed       that       his   sentence       might

  exceed the 240-month mandatory minimum sentence that he                                 would

  have    preferred,    and    there     is      no    basis    to     conclude      that   any

  alleged    misinformation         as   to     the     possible      sentence       he   might

  receive caused him prejudice by inducing him to plead guilty.

         Petitioner may also be asserting that he was "misinformed"

  because his counsel advised that pleading guilty was a better

  strategy     than    proceeding          to        trial.      Under        this    theory,

  Petitioner's counsel would have provided ineffective assistance

  of counsel because she guessed wrong about the likely outcome of

  her client pleading guilty.                   The Supreme Court, however, has

  warned against the second-guessing of a counsel's trial strategy

  simply because it has proven unsuccessful.                          See Strickland, 466

  U.S. at 689.       The Supreme Court has instructed that courts "must


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  indulge a strong presumption that counsel's conduct falls within

  the wide range of reasonable professional assistance; that is,

  the    defendant      must    overcome      the     presumption     that,      under      the

  circumstances, the challenged action 'might be considered sound

  trial strategy.'"             Id. {citation omitted).              Here, in order to

  satisfy the prejudice prong of Strickland the challenger must

  demonstrate "a reasonable probability that,                        but for counsel's

  unprofessional errors, the result of the proceeding would have

  been       different."        Id.     at   694.        Within   the     plea    context.

  Petitioner must demonstrate that, "but for counsel's errors, he

  would not have pleaded guilty and would have insisted on going

  to trial."          United States v. Fugit, 703 F.3d 248, 260 (4th Cir.

  2012) (citing Hill v. Lockhart, 474 U.S. 52, 59 (1985)).

             Petitioner's        bald        assertion        that       his      attorney

  "misinformed" him about pleading guilty fails to overcome the

  presumption that his attorney employed a sound trial strategy in

  advising her client to plead guilty rather than proceed to trial

  or    to    plead    guilty    without     a    plea   agreement.        It    is    hardly

  obvious       even    with     hindsight        that    pleading       guilty       was    an

  objectively inadvisable course of action, especially considering

  the overwhelming evidence that the Government likely would have

  presented       against      Petitioner        at   trial   and     considering           that

  Petitioner received a below-Guidelines sentence after pleading

  guilty.        Nor    has    Petitioner        demonstrated     that    he    would       have


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  received a different, more favorable outcome by pleading guilty

  to   the        indictment          without      a     plea     agreement.         Therefore,

  Petitioner's         claim    of    ineffective        assistance     of    counsel    on    the


  basis that his             counsel failed to properly inform                   him of        the

  consequences of his plea is DENIED because he has shown neither

  that counsel's performance was deficient nor that any defective

  performance caused Petitioner prejudice.

        2. Failure to Negotiate a More Favorable Plea Agreement

        In addition to claiming he was misinformed about the likely

  outcome of his plea.                Petitioner complains about his counsel's

  plea negotiation strategy.                 ''During plea negotiations defendants

  are 'entitled to the effective assistance of counsel.'"                                Lafler


  V.   Cooper,         566     U.S.     156,    162      (2012)      (quoting        McMann     v.

  Richardson,       397      U.S.     759,   771    (1970)).         Where,    as    here,     the

  petitioner       challenges         his    guilty plea        based    on    his    counsel's

  alleged    deficient         performance,         he    can   show    prejudice       only    if

  "there     is    a    reasonable          probability     that,       but   for     counsel's

  errors, he would not have pleaded guilty and would have insisted

  on going to trial." Hill, 474 U.S. at 59.

        Petitioner           argues    that     the      plea   agreement      that     counsel

  obtained, which included the Government's agreement to file an

  information          with    the     Court       pursuant     to      21    U.S.C.     §     851

  mentioning only one of his prior felony drug offenses, did not

  actually benefit him.                See Mem. Law Supp. § 2255 Mot. 21, ECF


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  No. 147.           He asserts that, because the Court was entitled to

  consider all relevant information concerning Good's background,

  character, and conduct in sentencing him, he was not helped by

  the Government's filing of an information stating only one of

  Good's prior convictions for felony drug offenses.                                  See id.       He

  thus concludes that counsel was                        ineffective        because    she failed

  to secure sufficient value for him in giving up his right to

  proceed to trial.

           The       obvious      reply      to   Petitioner's           complaint         is     that,

  absent defense counsel obtaining the Government's agreement as a

  part of the plea negotiations to file an information regarding

  only one       of       his   prior   drug offenses,            had       the   matter gone        to

  trial.    Petitioner            would      likely      have    been       convicted       and     the

  Government states it would have filed an information listing all

  of his prior felony drug offenses.                        See PSR UU 41-45, 47-48, 54

  (listing numerous prior felony drug offenses).                                   Pursuant to 21

  U.S.C. § 841(b)(1)(A), Petitioner would then have been sentenced

  to   a    mandatory            term   of    life       imprisonment             without    release

  because he violated § 841 after two or more prior convictions

  for felony drug convictions.                      Moreover, had the matter instead

  proceeded          to    a     guilty      plea     with       all    convictions          listed.

  Petitioner          would      also   have      faced      a   mandatory          term    of     life

  imprisonment.                 Thus,   it    appears        that       Petitioner's         counsel

  obtained       a    valuable      benefit       for     him    as     a    part    of     the    plea


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  negotiations,         and     the        Court       thus       declines        Petitioner's

  invitation to second-guess counsel's negotiation strategy on the

  basis    that    she    might       have       done      even    better.             Therefore,

  Petitioner's     claim      of   ineffective         assistance     of     counsel on the


  basis    that    his    counsel      failed         to    negotiate        a    better     plea

  agreement is DENIED because he has shown neither that counsel's

  performance was deficient nor prejudicial.

           C. Ineffective Assistance of Counsel at Sentencing

        Petitioner       next      alleges       three     defects      in       his    counsel's

  performance related to his sentencing.                          First, he claims that

  his counsel failed to review, discuss, and explain the PSR to

  him prior to his sentencing.                See Mem. Law Supp. § 2255 Mot. 24,

  ECF No. 147.         Second, he asserts that his counsel's handling of

  his   objections       to    the    PSR    was      unsatisfactory.              See    id.   In

  particular,      he     complains          that       his       counsel        withdrew       his

  objections to the PSR at sentencing.                        See id.        He also vaguely

  alleges that his counsel failed to file substantive objections

  to the PSR, but he does not specify what objections he believes

  should   have    been filed.             See   id.       Third,    he     claims       that his

  counsel failed to present mitigation evidence at sentencing and

  to    object    to     his       sentence      as      substantively           unreasonable.

  Id.


        In response, the Government notes numerous portions of Ms.

  Glaubke's       affidavit         that     directly         contradict          Petitioner's


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  conclusory allegations.              In her affidavit, Ms. Glaubke states

  first    that    she    met   with     Petitioner         on    August          24,   2016,    and

  August 26, 2016, and thoroughly discussed all relevant aspects

  of the PSR.        Glaubke Aff. 2, ECF No. 159-2.                           Following these

  discussions,      on    August    30,    2016,          Petitioner's            counsel     filed

  objections to the Guidelines calculation by challenging his base

  offense level of 36 and the dangerous weapon enhancement.                                      PSR

  31, ECF No. 114.           On September 12, 2016, Ms. Glaubke received

  the revised PSR noting Petitioner's objections.                             Glaubke Aff. 3.

  In    relation   to     Petitioner's objections, the                      probation officer

  challenged whether Petitioner's allegations were consistent with

  acceptance of responsibility because he appeared to be falsely

  denying relevant conduct.              PSR 32.           The probation officer also

  inserted additional evidence specifically rebutting Petitioner's

  claims.     Id.    at    31-32.       Counsel       then       met   with       Petitioner     on


  September 14, 2016 to discuss the revised PSR.                              Glaubke Aff. 3.

  She    states    that    "together      we    revised      our       position         paper    and

  decided to withdraw our objections to the guidelines.                                   We were

  concerned       that    our    objections         would        not    be        sustained     and

  [Petitioner]      risked      losing    his       acceptance         of    responsibility."

  Id.      Thereafter,       counsel      filed       a    memorandum             on    sentencing

  withdrawing      Petitioner's        previous       objections            and    requesting a

  below-Guidelines        sentence.        ECF       No.    120.            Ms.    Glaubke      also


  states that Petitioner "was an active participant in all of our


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  filings     and    never       expressed        concerns     or    a    desire       to     file

  anything additional."            Glaubke Aff, 3.

        In    addition      to    the     above      facts,    the   sentencing         hearing

  transcript     further         reveals    that      Petitioner's         allegations         are

  groundless.         At   the     hearing,       Ms.    Glaubke     and    Mr.       Good    both

  affirmed     under    oath      that     they    had    reviewed       the     PSR    and    had

  adequate time to discuss it together.                       Sen. Hr'g Tr. 3:21-4:10,

  ECF No. 170.        The Court also asked defense counsel about whether

  Petitioner    had     withdrawn         his   objections      to   the       PSR.      Id.    at

  4:11-16.     Ms. Glaubke replied that "[y]es, sir. After reviewing

  the addendum with Mr. Good and what was stated in there, he and

  I -- or he decided that we should withdraw those objections."

  Id. at 4:17-19.          The Court then asked Mr. Good if he agreed that

  "after     reviewing      [the       addendum]        and   discussing        it     with    Ms.

  Glaubke, that you made the decision to withdraw the objections

  in consultation with her," to which Mr. Good replied, ''[y]es,

  sir."      Id. at 4:20-24.             Petitioner also agreed that there were

  no additional errors or objections to the PSR.                               Id. at 5:3-8.

  The     transcript       then        reveals       that     Ms.    Glaubke           presented

  mitigation        evidence      at     oral     argument     regarding         Petitioner's

  background,       arguing       that    his     criminal     history      of    non-violent

  drug crimes, his strong family support, his addiction to drugs,

  his   poor    health,      his       acceptance       of    responsibility,           and    his

  cooperation       with    the    authorities          justified    a     below-Guidelines


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  sentence.            Id.      at     11:19-15:19.                The      same        mitigating

  circumstances were also presented in Petitioner's position paper

  on sentencing.            See Good Pos. Paper, ECF No. 120.

         In view of the above, it is clear that Petitioner's claim

  that    his      counsel     failed       to    adequately           review,     discuss      and

  explain the PSR has no basis.                        Petitioner affirmed under oath

  that    he    had    reviewed       the   PSR    with      his       counsel    and    that    his


  counsel did the same.              Petitioner's post hoc attempt to deny the

  facts that he swore to under oath is not sufficient to create a


  genuine factual issue as to whether he adequately discussed the

  PSR with counsel.            Because the Court concludes that there is no


  basis to find that Ms. Glaubke provided deficient representation

  by   failing        to    adequately       discuss        the    PSR     with    her    client.

  Petitioner's claim based on this issue is DENIED.


         Turning       next     to     Petitioner's           claim       that     his    counsel

  mishandled          his     objections,         the        Court       notes     first        that

  Petitioner's        vague     and    conclusory           assertion      that    his     counsel

  might    have       filed     better       objections           is    inadequate       to     show

  deficient representation.                 As to counsel's strategic decision to

  recommend        that     Petitioner      withdraw         his   objections,          the   Court

  keeps in mind that "[i]n many cases, counsel's decision not to

  pursue       a    particular        approach         at     sentencing          reflects       not

  incompetence, but rather a sound strategic choice."                                   Lovitt v.

  True, 403 F.3d 171, 179 (4th Cir. 2005).                         Here, the record shows


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  that    there    was    an    objectively          reasonable     basis     to    withdraw

  Petitioner's objections both because of the                       potential loss of

  the    acceptance      of     responsibility         reduction        and   because   the

  objections appeared likely to fail.                   Petitioner's complaint that

  his counsel's strategy did not achieve the extent of the below-

  Guidelines sentence that he desired is not a proper ground for

  finding    that       his    counsel's       performance        was    constitutionally

  insufficient.         See Strickland, 466 U.S. at 689.                      Moreover, in

  light of the fact that Petitioenr received credit for accepting

  responsibility, and that Petitioner's counsel was able to obtain

  a   below-Guidelines          sentence,       it    appears     that     her     strategic

  decisions in this case were sound.                    Therefore, the Court DENIES

  Petitioner's          claim     that     his        counsel's         performance      was

  constitutionally deficient in the handling of his objections to

  the PSR.


         Next,    the    record    clearly demonstrates            that Petitioner          is

  wrong in claiming that his counsel failed to present mitigation

  evidence   that       would    have    reduced      his   300-month      sentence.        As


  shown above, Ms. Glaubke presented mitigation evidence both in

  Petitioner's position paper and at the sentencing hearing which

  was    apparently      successful       in    causing     the    Court      to   impose   a

  below-Guidelines sentence.              Finally, Petitioner's claim that his

  counsel should have objected that his sentence was substantively

  unreasonable      is        completely       unsupported        and    without     merit.


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  Therefore,          Petitioner's       claims        of    ineffective           assistance        of

 counsel,        on    the    grounds      that    his       counsel         failed     to    present

  mitigation      evidence         and   failed        to    object        to    his   sentence      as

 substantively unreasonable, are DENIED.

                       D. Failure to File a Notice of Appeal

         Finally, Petitioner alleges that defense counsel provided

  constitutionally            deficient     performiance              by   failing      to    file   a

  notice of appeal after Petitioner directed                                 counsel to do so.

  Mem. Law Supp. § 2255 Mot. 25, ECF No. 147.                                   A lawyer performs

  deficiently if            she ''disregards specific instructions from the

  defendant to file a notice of appeal."                               Roe v. Flores-Ortega,

  528    U.S.    470,        477   (2000).        "Even          if    the       client   does     not

  expressly       request      an     appeal,     counsel          must         consult   with     her

  client about an appeal when a rational defendant would want to

  appeal    or        her    client      expresses          an    interest        in    appealing."

  Gordon    v.    Braxton,         780   F.3d   196,        200       (4th      Cir.   2015).      The

  petitioner does not need to show that his grounds for appeal are

  meritorious, just that "but for counsel's deficient conduct, he

  would have appealed."               Flores-Ortega, 528 U.S. at 486.                         He must

  also     demonstrate         a    "reasonable             probability           that,      but   for

  counsel's deficient failure to consult with him about an appeal,

  he would have timely appealed."                  Id. at 484.

         In the plea agreement. Petitioner agreed to waive his right

  to appeal his conviction and sentence on all grounds other than


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 than ineffective assistance of counsel claims cognizable under

 direct appeal.       Plea Agr. f 5, ECF No. 78.                     The Fourth Circuit

 has held that "an attorney renders constitutionally ineffective

 assistance    of     counsel     if     he     fails     to    follow    his       client's


 unequivocal instruction to file a notice of appeal even though

 the    defendant may have         waived       his right to appeal."                United

 States V. Poindexter, 492 F.3d 263, 273 (4th Cir. 2007).                              Where

 a   petitioner     claims   to     have       directed    his   counsel       to    file   a

 notice of appeal and counsel files an affidavit denying such

 claim, an evidentiary hearing is generally necessary in order to

 determine    which    account      is    credible.            See    United    States      v.


 Diaz, 547 F. App'x 303, 304 (4th Cir. 2013) (finding that the

 district court abused its discretion in denying an evidentiary

 hearing   where    there    were      conflicting factual            statements about

 whether the petitioner requested that his counsel file a notice

 of appeal).

        Petitioner claims that he requested that Ms. Glaubke file a

 notice of appeal.       See Mot. Vacate Under 28 U.S.C. § 2255 6, ECF

 No. 146 (noting counsel failed to "File a Notice of Appeal as

 Good    requested").        For       her     part,    Ms.     Glaubke    denies       that

 Petitioner ever asked her to file an appeal, and she emphasizes

 that she had previously informed him that he                             his right to

 appeal.      Glaubke   Aff.      3,     ECF    No.    159-2.        Because    there    are

 conflicting factual allegations in the record regarding whether


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 Petitioner       made   a     timely   request         for   his    counsel   to    file   a

 notice     of    appeal.      Petitioner's        claim      on   this   issue    is   TAKEN

 UNDER ADVISEMENT pending an evidentiary hearing.                            The Clerk is

 therefore        DIRECTED      to   appoint        a     new      defense   attorney       to

 represent Petitioner at such hearing.                        See R. Governing § 2255

 Proceedings in U.S. Dist. Cts. 8(c) ("If an evidentiary hearing

 is warranted, the judge must appoint an attorney to represent a

 moving party who qualifies to have counsel appointed under 18

 U.S.C. § 3006A.") (emphasis added).                      As soon as new counsel is

 appointed, counsel for Petitioner and counsel for the Government

 shall    confer      regarding      mutually       agreeable        hearing      dates    and

 should     contact      the     undersigned            Judge's     calendar      clerk     to

 schedule an evidentiary hearing as soon as practicable.                                Based

 on   the    nature      of     Petitioner's        claims.         Petitioner      will    be

 required        to   appear    in   person    for        such     evidentiary      hearing.

 Accordingly, counsel shall ensure that the date chosen for the

 hearing affords the United States Marshals Service adequate time

 to transport Petitioner to this Court.

                                     IV. CONCLUSION


         For the reasons stated above. Petitioner's § 2255 motion is

 DENIED on the         merits, except on the limited issue                     of    whether

 Petitioner unequivocally requested counsel to file an appeal and

 counsel neglected to do so. Petitioner's claim that counsel was




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 ineffective for failing to file a notice of appeal as directed

 is TAKEN UNDER ADVISEMENT pending an evidentiary hearing.

        The Clerk is DIRECTED to forward a copy of this Opinion and

 Order to Petitioner, Petitioner's former counsel, and the United

 States Attorney's Office in Norfolk, Virginia.

        IT IS   SO ORDERED.




                                                           /s/
                                                     Mark S. Davis
                                            UNITED STATES DISTRICT JUDGE


 Norfolk, Virginia
 June           2018




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